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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                      Plaintiff,
                                          )
                                          )
      vs.                                 )                   Case No. 12-40039-01-RDR
                                          )
HASHIEM JAMIL FORD,                       )
                            Defendant.    )
__________________________________________)

                                             ORDER

       NOW on this 27th day of April, 2012, the above-entitled matter comes before the Court upon

the motion of counsel for the accused for an order granting additional time of three (3) weeks to file

motions. The Court has reviewed the motion and is fully advised of the premises.

       The Court further finds that the reasons set forth in the motion justify a delay, and that the

additional time granted pursuant to this Order shall be excludable time as provided for in 18 U.S.C.

3161(h)(7). See United States v. Toombs, –-F.3d—, 2009 WL 2357228 (10th Cir. 2009).

       IT IS THEREFORE ORDERED that the accused shall have additional time up to and

including May 22, 2012 to file motions in the above-entitled action, and the government shall have

until June 1, 2012 to file responses. The hearing on said motions shall be rescheduled for June 14,

2012 at 9:30 a.m. The period of delay resulting from such continuance shall be excludable time as

provided for by the Speedy Trial Act, 18 U.S.C. 3161(h)(7).


                                                      s/Richard D. Rogers
                                                      United States District Judge
